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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

JOHN DOE,                                                  :
                                                           :   Civil Action No:
                                                           :
                        Plaintiff,                         :
                                                           :
                                                           :
                -against-                                  :
                                                           :
                                                           :
YALE UNIVERSITY, YALE UNIVERSITY                           :
BOARD OF TRUSTEES,                                         :
                                                           :
                                                           :
                        Defendants.                        :


                                             MOTION

        Upon the Complaint, the Declaration of Plaintiff John Doe, the Declaration of William B.

Bilcheck, Jr. and the exhibits thereto, and the Memorandum of Law in support of Plaintiff’s

Motion for a Temporary Restraining Order and a Preliminary Injunction, Plaintiff hereby moves

this Honorable Court on a date and time to be determined at Richard C. Lee U.S. Courthouse,

141 Church Street, New Haven, Connecticut 06510, for a Temporary Restraining Order and a

Preliminary Injunction and specifically that:

        1.      Defendants Yale University and Yale University Board of Trustees be

immediately enjoined from enforcing their December 26, 2017 suspension of Plaintiff John Doe

from Yale University;

        2.      Defendants Yale University and Yale University Board of Trustees should not be

immediately ordered to honor and give effect to Plaintiff John Doe’s registration for classes for

the Spring Semester which began on January 17, 2018 and to permit Plaintiff John Doe to

participate fully in all University activities; and
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       3.      Pending a final determination of Plaintiff’s Motion for a Temporary Restraining

Order and a Preliminary Injunction, Plaintiff John Doe is to be given access to register for all

classes for the Spring Semester which began on January 17, 2018.

Dated: New York New York
       January 18, 2018                     Respectfully submitted,
                                            Attorneys for Plaintiff

NESENOFF & MILTENBERG LLP                   WILLIAM B. BILCHECK JR LAW OFFICES


By: /s/   Andrew T. M itenberg, Esq. _                                           By:         /s/



W illiam B. Bilcheck Jr. ____

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